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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 JAMES IRVING DALE,                                      Case No. 12-CV-0383 (PJS/JSM)

                        Plaintiff,

 v.                                                                   ORDER

 JOEL L. BROTT, BRIAN FRANK,
 ANGELA KNUTSON, DAVE ISIAS, LISA
 KACHMAREK, BILL (WILLIAM)
 HILDEN, and UNKNOWN
 CORRECTIONAL OFFICER,

                        Defendants.

       James Irving Dale, pro se.

       Jason M. Hill, JOHNSON & LINDBERG, P.A., for defendants.

       This matter is before the Court on defendants’ objection to the July 23, 2013 Report and

Recommendation (“R&R”) of Magistrate Judge Janie S. Mayeron. The objection is overruled,

and Judge Mayeron’s thorough and careful R&R is adopted.

       Plaintiff James Dale filed this action under 42 U.S.C. § 1983 against the Sherburne

County sheriff and several employees of the Sherburne County Jail. Dale brings various claims,

including a claim that defendants violated his right of access to the courts. In the R&R,

Judge Mayeron recommends that defendants’ motion for summary judgment be granted, and in

particular recommends that Dale’s access-to-court claim be dismissed without prejudice because

it is barred by Heck v. Humphrey, 512 U.S. 477 (1994).

       Defendants object to the recommendation that Dale’s access-to-court claim be dismissed

without prejudice. Defendants argue that the Court should dismiss the claim with prejudice on
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one or more of several alternative grounds, such as qualified immunity. The Court declines to do

so.

       Certainly, the Court may choose to dispose of a claim on qualified immunity or other

grounds without first addressing the applicability of Heck. See Lawrence v. City of St. Paul, 740

F. Supp. 2d 1026, 1036 (D. Minn. 2010). But defendants cite — and the Court is aware of — no

authority for the proposition that the Court must address the issue of qualified immunity before

dismissing a claim under Heck. To the contrary, courts regularly dismiss claims on the basis of

Heck without reaching the issue of qualified immunity. See Connors v. Graves, 538 F.3d 373,

378 (5th Cir. 2008) (declining to consider qualified immunity and affirming dismissal under

Heck); Hicks v. Barberton Police Dep’t, No. 11-76, 2012 WL 5833565, at *6 (N.D. Ohio

Nov. 15, 2012) (“Because the Court has found that Hicks’s excessive force claim is barred by

Heck, it need not address defendants’ remaining arguments regarding their entitlement to

qualified immunity . . . .”); Puch v. Vill. of Glenwood, No. 05-1114, 2012 WL 2502688, at *3 n.5

(N.D. Ill. June 27, 2012) (“Because the court finds that the claim is barred by Heck, the court

need not reach the issue of qualified immunity as it applies to the false arrest claim.”).

Defendants’ objection is therefore overruled.

                                              ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, the Court

ADOPTS the R&R [ECF No. 44]. IT IS HEREBY ORDERED THAT:

       1.      Defendants’ motion for summary judgment [ECF No. 27] is GRANTED.

       2.      Plaintiff’s claim for denial of access to the courts is DISMISSED WITHOUT

               PREJUDICE.


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     3.     Plaintiff’s remaining claims are DISMISSED WITH PREJUDICE.

     LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: September 5, 2013                  s/Patrick J. Schiltz
                                          Patrick J. Schiltz
                                          United States District Judge




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